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     D27BCORC                     Conference

 1   UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
 2   - --------------- - - - - - -------x

 3   UNITED STATES OF AMERICA,

 4               v.                               13 CR 48 (JGK)

 5   ROYCE CORLEY,

 6                    Defendant.

 7   -~~ -~-------~- ---~-------x


 8                                                New York, N.Y.
                                                  February 7, 2013
 9                                                3:40 p.m.

10
     Before:
11
                              HON. JOHN G. KOELTL,
12
                                                  District Judge
13

14                                 APPEARANCES

15   PREET BHARARA
          United States Attorney for the
16        Southern District of New York
     TATIANA R. MARTINS
17   AMANDA KRAMER
          Assistant United States Attorneys
18
     FEDERAL ·DEFENDERS OF NEW YORK
19        Attorneys for Defendant
     PHILIP L. WEINSTEIN
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 1              (In open court)

 2              THE DEPUTY CLERK:        United States of America v. Royce

 3   Corley.

 4              Will all parties state who they are for the record.

 5              MS. MARTINS:     Tatiana Martins for the United States

 6   and with me is my colleague, AUSA Amanda Kramer.            Good

 7   afternoon, your Honor.

 8              MS. KRAMER:     Good afternoon, your Honor.

 9              THE COURT:     Good afternoon.

10              MR. WEINSTEIN:        Phil Weinstein, Federal Defenders, for

11   Mr. Corley.

12              THE COURT:     Good afternoon.       I note that the defendant

13   is present.

14              All right.     Where are we?

15              MS. MARTINS:     Your Honor.       Mr. Corley was relocated

16   from the State on January 29th, 2013.            He was presented and

17   arraigned on that day as a referral from your chambers, and so

18   we're here today for the initial pretrial conference.

19              THE COURT:     Okay.     Tell me about the case, please.

20              MS. MARTINS:     Your Honor, this is a two-count

21   indictment against Mr. Corley for sex trafficking of a minor in

22   violation of Section 1591(a) and (b) (2).

23              THE COURT:     Yes?

24              MS. MARTINS:     And he faces, pursuant to those charges,

25   a statutory minimum of ten years.


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 1              THE COURT:     Have you begun to make discovery?

 2              MS. MARTINS:     Your Honor, the government has made some

 3   preliminary discovery and we are in the process of working with

 4   the DA's office in Manhattan who originally had this case to

 5   gather-- it's a significant volume of discovery.           There are

 6   bank records, visa records, computer records from both

 7   Mr. Corley's work and home.        There are also several types of

 8   media that were seized in connection with a search warrant that

 9   contained many, many pictures and other types of files.            So we

10   are in the process of gathering that.

11              The government is also considering -- or

12   investigating, I should say, whether we may supersede the

13   indictment with a child pornography count or counts.           So that's

14   where we are.

15              THE COURT:     Are there any charges that remain pending

16   in the state?

17              MS. MARTINS:     No, your Honor.    My understanding is the

18   state has dismissed their case once Mr. Corley was indicted

19   federally.

20              THE COURT:     Okay.   Are there any statements?

21              MS. MARTINS:     The government's understanding is

22   Mr. Corley has not made any statements in connection with this

23   case.

24              THE COURT:     I'm not quite sure if that was

25   deliberately couched or not.


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 1              MS. MARTINS:     No, your Honor.     I haven't had a chance

 2   to review all of the materials, obviously, because they're with

 3   the state and there was a significant amount of investigation

 4   before we took the case.          So my understanding from the ADA is

 5   that there are no statements.

 6              THE COURT:     Okay.     I mean, obviously if there are

 7   statements that are covered by the rules, you'll turn them

 8   over.

 9              MS. MARTINS:     Of course.

10              THE COURT:     And how much time do you need to complete

11   discovery?

12              MS. MARTINS:     Your Honor, we'd like one month.

13              THE COURT:     Okay.

14              MS. MARTINS:     In addition, your Honor, I just wanted

15   to mention that we've been in discussions starting today with

16   Mr. Weinstein about how to produce some of the files which

17   contained pornographic materials as well as potentially child

18   pornography.    So we're in discussions about how to make those

19   files available to the defendant in a way that obviously

20   satisfies all of the rules of the MDC and the MCC.

21              THE COURT:     Okay.    Mr. Weinstein, is there anything

22   you'd like to tell me?

23              MR. WEINSTEIN:     Just a couple of short things.       Number

24   one, at least my understanding is there was probably a lineup

25   in this case.    I'm not positive, but I think one of the alleged


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 1   victims may have made a proporial identification.

 2               Second, the complication that the government just

 3   mentioned, and a possible solution which we'll need the Court's

 4   assistance on, and this is being done by Judge Gardephe in the

 5   Valley case, is that-- and the government is looking into this.

 6   So that the government would supply-- some of the material

 7   would be considered contraband if it was in prison, especially

 8   sexually explicit images.

 9               So what they did in that case is the government

10   supplied a laptop which had no ability to e-mail or use the

11   internet.     They then loaded the material on, they are inspected

12   by the marshals and the BOP, and then the defendant was

13   permitted in a restricted area to review it.

14               So assuming the government will check that out with

15   the prosecutors in that case and there have been no problems

16   with that, we might ask the Court for an order for similar

17   access.

18               THE COURT:   Okay.    It sounds as though one month for

19   discovery seems reasonable.        I would normally set this down

20   then for another conference a reasonable period of time after

21   the defense has had an opportunity to review that discovery and

22   to determine what motions, if any, the defense intends to make.

23               That would probably -- depending upon how much time

24   you think, Mr. Weinstein.        A month?   Six weeks?

25               MR. WEINSTEIN:   I would assume from the time we get


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 1   it, yes, I think that would be about right.          As I said, the

 2   only complicating factor is getting BOP on board so that

 3   Mr. Corley can review the material.        And I don't know what the

 4   volume is either.       I don't know in terms of the number of

 5   documents plus images and all the rest, but I think at least

 6   for conference purposes, that would be fine.

 7              THE COURT:     How about Tuesday, April 23rd at 4:30

 8   p.m.?    Is that satisfactory for both sides?

 9              MS. MARTINS:     That's fine for the government, your

10   Honor.

11              MR. WEINSTEIN:     That's fine, your Honor.

12              THE COURT:     Okay.   Another conference April 23, 4:30

13   p.m.     I will exclude prospectively the time from today until

14   April 23rd from speedy trial calculations.          The continuance is

15   designed to assure effective assistance of counsel; it's

16   designed to allow the government to complete discovery and the

17   defense to review it; and to determine what motions, if any,

18   the defense intends to make.

19              The Court finds that the ends of justice served by

20   ordering the continuance outweigh the best interests of the

21   defendant and the public in a speedy trial.          This order of

22   exclusion is made pursuant to 18 U.S.C. Section 3151(h) (7) (A).

23              Is there any time off the speedy trial clock?           I had

24   excluded time until today-- or, rather, I'm sorry --

25              MS. MARTINS:     The magistrate judge did exclude time


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 1   until today, your Honor.

 2               THE COURT:     So no time off the speedy trial?

 3               MS. MARTINS:     No time.

 4               THE COURT:     You agree with that, Mr. Weinstein?

 5               MR. WEINSTEIN:     Yes, that's correct.

 6               THE COURT:     Okay.    Anything else?

 7               MR. WEINSTEIN:     Your Honor, so assuming the government

 8   is comfortable with the procedure I had mentioned to the Court

 9   previously, Judge Gardephe just did it on the transcript,

10   although we could submit a joint order to the Court.           It's your

11   preference.     Then we would then send it to the BOP and the

12   marshals.

13               THE COURT:     If the transcript is satisfactory for the

14   BOP and the marshals, and the parties agree with it after

15   checking with-- is it the MCC?

16               MR. WEINSTEIN:     MDC.

17               THE COURT:         after checking with the MDC, that's

18   fine with me.     And the transcript can act as the order of the

19   Court unless the BOP or the marshals need a separate order.

20               MR. WEINSTEIN:     So assuming it's-- just so the

21   transcript is clear, if this is what we're submitting, that the

22   Court is -- assuming the parties agree to this, we can then

23   submit it to the BOP and to the marshals.

24               THE COURT:     Right.

25               MR. WEINSTEIN:     Okay.


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 1             THE COURT:     To allow an agreed-upon computer that will

 2   go to the MDC, where the MDC will make an arrangement available

 3   that the defendant can view that computer at a secure location

 4   at the MDC.    So it requires that the Bureau of Prisons agree on

 5   that; that they have a place to let the defendant see it; and

 6   that whatever procedures the BOP has to get the computer into

 7   the prison, put it in the room and let the defendant see it,

 8   that's certainly agreeable to the Court.          And if the BOP needs

 9   an order saying go forward, this transcript can act as that

10   order.

11             MR. WEINSTEIN:     Thank you.

12             MS. MARTINS:     And, your Honor, the government will let

13   Mr. Weinstein know if there are any objections by Monday.

14             THE COURT:     That's fine.

15             MR. WEINSTEIN:     That's fine.     Thank you, your Honor.

16             THE COURT:     Okay.   Anything else?

17             MR. WEINSTEIN:     Not from the defense.

18             MS. MARTINS:     Not from the government.       Thank you.

19             THE COURT:     Very well.     Nice to see you all.

20              (Adjourned)

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